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                       United States D i s t r i c t Court
                     For the District of New Hampshire

                                                                           FILrf•»'
Timothy Beers                                                      1115 NOV -3 AII: oq
Plaintiff


Vs.


N.H.    Department
of    Corrections


Commissioner Wrenn      et   al




                                  Jurisdiction

        Plaintiff brings this lawsuit pursuant to 42 U.S.C. §1983.

This Court has jurisdiction under 28 U.S.C. §§1331           & 1343.

Plaintiff also seeks a declaratory judgment pursuant to 28 U.S.C,

§2201 .



                                     Venue


        The District of New Hampshire is an appropriate venue under

28 U.S.C. §1391      (b)(2) because a substantial part of the events

or omissions giving rise to the claims occurred in this District.




                                     (1 )
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                                Defendants




     1) Defendant Maggie Hassan,     Governor of the State of New

Hampshire,    is legally responsible for the oversight and functions

of all agencies under the jurisdiction of the Executive Branch

which includes the Department of Justice ("DOJ") and the

Department of Corrections ("DOC") of the State of New Hampshire.



     2) Defendant, Joseph Foster, Attorney General ("AG") of

the State of New Hampshire,      is legally responsible and obligated,

as chief law enforcement officer and head of the New Hampshire

Department of Justice ("NHDOJ"), to oversee any and all

investigations, complaints,     and all illegal or criminal

allegations brought to his attention,        and to assign qualified

investigators under the jurisdiction of the NHDOJ.        Defendant

Foster is legally responsible for the allocation of funds from

Federal grants originating from the Prison Rape Elimination

Act ("PREA") for the prevention, protection and safety of prison

inmates and the Communities of New Hampshire.



     3) Defendant, William Wrenn,      Commissioner of the New

Hampshire Department of Corrections ("NHDOC"),        is legally

responsible for the overall operations of the NHDOC and each

institution under its jurisdiction,      including the Men's Prison

in Concord,    New Hampshire.   Defendant Wrenn is legally

responsible to ensure that each institution within the NHDOC
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is in compliance with the zero tolerance policy as set forth

by 28 U.S.C.    115 and Public Law 108-79,   including the New

Hampshire State Prison for Men ("NHSP/m")      in Concord.



     4) Defendant,    Christopher Kench,   Director of Security and

training standards of NHDOC and each institution under its

jurisdiction, including the Men's Prison in Concord, New

Hampshire,   is legally responsible for establishing and enforcing

prescribed training standards and timetables to ensure all NHDOC

staff and security personnel receive initial and recurrent

training for the safety and protection of inmates under State

care and the integrity and security of all Institutions under

NHDOC jurisdiction, including the NHSP/M in Concord New

Hampshire.



     5) Defendant,    Colon Forbes, Director of Investigations,

of the NHDOC is legally responsible to investigate and report

any and all allegations of criminal misconduct or activity of

either staff,    security personnel, or inmates at all

institutions under the jurisdiction of the NHDOC,        including

the NHSP/M in Concord. Defendant Forbes is legally responsible

to report the results of any and all investigations to the

Commissioner of the NHDOC and/or the Attorney General of New

Hampshire.




                                   (3)
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       6) Defendant, Richard Gerry, at the time of initial

complaint. Warden of the NHSP/M in Concord, is legally

responsible for the overall operations of the facility.              Defendant

Gerry,      during his tenure as Warden,       is legally responsible for

the implementation and adherence to the zero-tolerance policy

as set forth by 28 U.S.C.          115 and Public Law 108-79.



       7) Defendant, Jean Carrol, Director of PREA standards for

the NHSP/M in Concord, is legally responsible for the

implementation and adherence to the zero-tolerance policy as

set forth by 28 U.S.C.        115 and Public Law 108-79,     along with

NHDOC Policy and Procedure Directive ("PPD") #5.19. Defendant

Carrol is legally responsible to investigate and report any

and   all    violations of   the   zero-tolerance   standard of   PREA

according to the requirements therein,           both State and Federal.



       8) Defendant, Jon Pouts, Major of the NHSP/M in Concord,

is legally responsible for the overall security operations and

for the safety and security of all inmates under State care

within the jurisdiction of the facility to include minimum

security housing,       halfway houses,    and parolees. Defendant Pouts

is legally responsible to ensure that all security personnel

and staff are properly trained in accordance with Revised Statute

Annotated ("RSA")       622:5, RSA 188-P:26, RSA 21-H:8 and 21-H:13.




                                         (4)
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     9) Defendant, John Doe #1, Shift Commander for second shift,

is legally responsible for the assignment, placement, and use

of security personnel under his command to ensure the safety

and well being of all inmates under State care within the NHSP/M

in Concord and to ensure the security and integrity of the

facility at all times during his shift, to include before,

during, and after any and all special events that are to occur

during the shift to which he is assigned.



     10) Defendant[s], John Doe #'s 2,               3,    4,    5,    6, 7,      8,    9,

10, and 11, are Corrections Officers ("CDs"),                     legally responsible

for the security,     safety,    and well being of inmates under State

care, housed at the NHSP/M in Concord during thier assigned

shift. Defendant[s], John Doe #'s 2,            3,    4,    5,    6,    7,   8,    9,    10,

and 11, are specifically legally responsible for security before,

during,   and after the specific Holiday special event mentioned

herein and the security,        safety,    and well being of any and all

inmates Who participated at said special event.



     11) Defendant, K.      Jardine,      female Corrections Officer ("CO")

is legally responsible for the security,                  safety,       and well being

of any and all inmates under State care housed at the NHSP/M

in Concord during her assigned shift.



     12) Defendant John/Jane Doe #13 is a                  corrections officer

("CO") is responsible for mail sorting on the unit for out going




                                          (5)
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mail on second shift in H-Building.                Defendant is responsible

for sorting legal mail,          union supply orders,       request slips and

grievances,      from regular postage mail and directing i t to the

proper destination.



       13) The defendants named herein are sued in their individual

and official capacities,           acting under color of Federal and State

Law a t   all   times   relevant    to   this    action.




                                          Facts


       14) At the New Hampshire State Prison for Men ("NHSP/M")

in Concord, New Hampshire,           the Recreation Department organizes

a Christmas Holiday event for inmates and their families.                Inmates

apply to attend the event and if certain criteria is met,                they

may attend.



       15) The Holiday event is held annually every December over

a period of several days to give an opportunity for all inmates

With   families    a    chance   to attend.




       16) The Holiday event is held in the gymnasium ("GYM")

and due to limitations in space available, each unit has a

specific day to attend with their families. This is established

by the administration and the head of security. Major Jon Fouts.

(See exhibit §9 "Holiday event form").




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     17) The Plaintiff,       along with his unit, were assigned to

attend the Holiday event on Thursday,         December 18,   2014 at

6:30 pm.




     18) The Holiday event ended at approximately 8:45 pm, at

Which time the family members were escorted out while the inmates

in attendance remained in the gym.



     19) At that time, the Correction Officers ("CD's") assigned

for security announced that they were now "stripping you out".



     20) There were approximately ten (10) CD's near eight (8)

tables at the center of the gym. Eight (8) inmates were called

over and ordered to strip down for a visual body cavity search

("strip search").



     21) The strip search was done out in the open without the

use of privacy screens and in direct view and proximity of the

other inmates Waiting to be strip searched.



     22) The strip search was done out in the open without the

use of privacy screens and in direct view of a female CO who

was present in the gym.



     23) In the gym Where the group strip search took place,

there is a     video surveillance camara that focuses on any part

of or all of the gym floor area, which,         upon information and

belief,    is continuously operating.


                                      (7)
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     24) Plaintiff is seventy-five percent (75%) deaf in his

right ear and sixty five percent (65%) deaf in his left ear,

and at the time of the Holiday event, he was without any type

of hearing aids which caused the Plaintiff to be confused and

disoriented throughout the strip search.




                       Exhaustion of Remedies




     25) The Plaintiff sent an inmate request slip ("IRS") to

defendant Major Fouts on Tuesday,      January 13,   2015 to inquire

about the strip searches and more specifically about the manner

in which they   (strip searches) were conducted.



     26)   The Plaintiff went to Mental Health sick call on

Thursday, January 15, 2015 to report the violations and seek

to arrange with mental health staff a schedule for treatment

for the trauma the Plaintiff suffered as a      result of the group

strip search and related offenses.



     27) The Plaintiff, on Saturday, January 17,        2015,   submitted

a grievance form to Defendant Warden Gerry about the group strip

search and related offenses. The grievance was denied stating

that Major Fouts had not enough time to completely investigate

the circumstances of the complaint.




                                 (8)
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       28) On Saturday, January 24,       2015,   the Plaintiff was

summoned to mental    health   to meet with Defendant Jean Carrol

to discuss the group strip search and related offenses and take

a   statement.




       29) The Plaintiff, on Thursday,       January 29,    2015,    sent

a   grievance to Defendant Commissioner William Wrenn.             This

grievance,   sent in a sealed, addressed,         and stamped envelope

directly to Defendant Wrenn, was intercepted by Defendant Gerry,

who then answered,    denying the presence of a        female officer

and stating that "...the following strip search procedure will

be reviewed and changed as necessary for next year".



       30) The Plaintiff, on Monday, February 16,          2015,    sent a

grievance a second time to Defendant Commissioner William Wrenn

which Was intercepted by Defendant Christopher Kench, who,                  in

his reply stated that the finding of Defendant Gerry were

sufficient and that    the matter   is    settled.




       31) The Plaintiff, on Thursday, February 19,          2015, wrote

to the NeW Hampshire Attorney General, Defendant Joseph Foster

stating the details of the group strip search and subsequent

offenses, the steps taken With regard to the grievance policy

and Who replied. Defendant Foster replied that he was turning

the investigation over to Defendant Major Fouts.




                                    (9)
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     32) The Plaintiff, on the dates of February 26,           March 26,

April 27, and May 26 of 2015, wrote to Defendant Governor Maggie

Hassan seeking relief but has yet to receive a          reply from the

office of    the   Governor.




     33) The Plaintiff,        having sought relief,   not only from

NHDOC Administration,      but also from the Attorney General and

the Governor and receiving none, believing that there has been

a violation of his rights as a result of the group strip search

and subsequent offenses is noH2 turning to the Courts seeking

relief.




                                      (10)
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                           Causes of Action

                                Count     I




     Plaintiff was subjected to an unreasonable search of his

person in violation of the fourth amendment of the United States

Constitution.




     34) Plaintiff incorporates paragraphs 1 through 33 as though

they were stated fully herein.



     35)   Plaintiff claims a   violation of his fourth amendment

right to be secure from all unreasonable searches and seizures

of his person when defendant CO John Doe #2 ordered the Plaintiff

to strip while in the presence and direct view of other inmates.



     36)   Plaintiff claims a   violation of his fourth amendment

right to be secure from all unreasonable searches and seizures

of his person when defendant Co Jardine,      a   female officer, was

present and viewing the group strip search from the stairs of

the gym.



     37) Plaintiff claims a     violation of his fourth amendment

right to be secure from all unreasonable searches and seizures

of his person when defendant CO John Doe §2 ordered the Plaintiff

to strip in full view of the video surveillance camara mounted

in the gym,   exposing Plaintiff to voyeurism.




                                  (11 )
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     38)   Plaintiff claims a   violation of his   fourth amendment

right to be secure from all unreasonable searches and seizures

of his person when defendant Shift Commander, John Doe           ,

Commander of second shift,      upon information and belief, consented

and approved the use of a group strip search in a non-exigent

circumstance, without the use of privacy screens, while in view

of a surveillance camera,     and allowing a   female CO to be present

and viewing cross gender.



     39)   Plaintiff claims a   violation of his fourth amendment

right to be secure from all unreasonable searches and seizures

of his person when defendant Major Fouts,      being present,   allowed

the group strip search to occur without privacy screens,         in

full view of a female officer,      in full view of the video

surveillance camera,   and,   upon information and belief,    absent

any exigent circumstances.



                                 Count    II




     Plaintiff was subjected to cruel and unusual punishment

in violation of the eight amendment of the United States

Constitution.




     40) Plaintiff incorporates paragraphs 1 through 33 as though

they were stated fully herein.




                                   (12)
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       41) Plaintiff claims a violation of his eight amendment

right to be free from cruel and unusual punishment when CO John

Doe §2 displayed deliberate indifference when he exposed the

Plaintiff to the State created danger of sexual assault,          and

the violations resulting from the group strip search.



       42) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when

defendant[s] John Doe[s] #'s 3 through 11        displayed deliberate

indifference when they neglected to protect the Plaintiff from

a State created danger of sexual assault,        and violations

resulting from the group strip search,        and voyeurism.



       43) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

CO Jardine displayed deliberate indifference when she neglected

to protect the Plaintiff from the State created danger of sexual

assault and violations resulting from the group strip search.



       44)   Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

CO John Doe #2 displayed deliberate indifference when he ordered

the Plaintiff to strip in full view of the video surveillance

camera in which the State created danger of voyeurism,          a criminal

act,   occurred against the Plaintiff.




                                     (13)
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     45) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Shift Commander, John Doe       ,   for second shift displayed

deliberate indifference,    upon information and belief,     consented

and approved the use of a group strip search in a non-exigent

circumstance. Without the use of privacy screens,       and in full

view of the video surveillance camera,       and exposed the Plaintiff

to cross gender viewing while failing to protect the Plaintiff

from the State created dangers of sexual assault and voyeurism.



     46)   Plaintiff claims a   violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Major Fouts displayed deliberate indifference,       upon information

and belief,   as Head of Security, has the authority to authorize

group strip searches,   by which defendant Fouts failed to protect

the Plaintiff from a State created danger and the criminal act

of voyeurism.



     47)   Plaintiff claims a   violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Warden Richard Gerry displayed deliberate indifference to the

claims of the Plaintiff and denying the grievance stating that

the defendant Fouts did not have enough time to investigate

the claims in the IRS sent by the Plaintiff.



     48)   Plaintiff claims a   violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant




                                     (14)
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Director Colon Forbes, displayed deliberate indifference by

not thoroughly investigating the events that led to the

Plaintiff's rights being violated and not protecting the

Plaintiff from a   State created danger of sexual assault and

failing to follow up on the criminal act of voyeurism.



     49) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Director Colon Forbes, displayed deliberate indifference when

he failed to report what are legally considered criminal acts

by Corrections Officers to defendant.      Attorney General of New

Hampshire, Joseph Foster.



     50) Plaintiff claims a    violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Jean Carrol, PREA Coordinator for the NHSP/M in Concord,

displayed deliberate indifference        through not reporting what

are legally considered criminal acts by Corrections Officers

to defendant. Attorney General of New Hampshire, Joseph Foster.



     51) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Attorney General of New Hampshire ("AG"), Joseph Foster displayed

deliberate indifference when he assigned the investigation to

defendant Fouts who had made his decision concerning the strip

searches.




                                  (15)
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     52) Plaintiff claims a violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Director Kench displayed deliberate indifference, answering

the second grievance addressed to the Commissioner. Defendant

Kench became aware of officers not performing strip searches

in accordance with NHDOC PPDs and               28 U.S.C.   115.   As Director

of Security and Training, defendant Kench has failed to protect

the Plaintiff from a State created danger of sexual assault

and the criminal act of voyeurism.



     53) Plaintiff claims a             violation of his eighth amendment

right to be free from cruel and unusual punishment when defendant

Governor Maggie Hassan displayed deliberate indifference when

upon receiving letters,          four    (4) over the course of four       (4)

months,   learned of the practices of the NHDOC regarding strip

searches. Defendant Hassan failed to protect the Plaintiff from

the State created danger of sexual assault and the criminal

act of voyeurism by not tasking defendant Foster with

investigating and reporting on the claims of the Plaintiff.



                                        Count   III




     Plaintiff was denied equal protection under the fourteenth

amendment    of   the   United   States    Constitution.




     54) Plaintiff incorporates paragraphs 1 through 33 as though

they were stated fully herein.




                                           (16)
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       55)   Plaintiff claims a   violation of his   fourteenth    amendment

right to equal protection under the Law when defendant CO John

Doe #2 ordered the Plaintiff to strip while in the presence

and direct view of other inmates, exposing the Plaintiff to

the State created danger of sexual assualt.



       56)   Plaintiff claims a   violation of his fourteenth amendment

right to equal protection under the Law when defendant[s] John

Doe(s) ^'s 3 through 11,      in accordance with State and Federal

Law,   failed to protect the Plaintiff from the State created

danger of sexual assault and the criminal act of voyeurism,

by allowing a group strip search to occur. Defendant[s] John

Doe(s) it's 3 through 11 Icnowingly ignored NHDOC policy and failed

to protect the Plaintiff, which removes any qualified immunity.



       57) Plaintiff claims a violation of^is fourteenth amendment

right to equal protection under the Law when defendant CO Jardine

observed the group strip search and as a         female officer,    in

accordance with State and Federal Law,        failed to protect the

Plaintiff from the State created danger of sexual assault and

the criminal act of voyeurism and cross gender viewing, by

allowing      a group search to occur. Defendant Jardine Icnowingly

ignored NHDOC policy and failed to protect the Plaintiff, which

removes any qualified immunity.



       58) Plaintiff claims a violation of his fourteenth amendment

right to equal protection under the Law when defendant CO John

Doe §2,      in accordance with State and Federal Law failed to

protect the Plaintiff from the State created danger of sexual
                                    (17)
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assault and the criminal act of voyeurism, by ordering the

Plaintiff to strip in the presence and direct view of other

inmates and in full      view of a   video surveillance camera.

Defendant John Doe #2 knowingly violated and ignored NHDOC policy

and failed to protect the Plaintiff.



      59)    Plaintiff claims a    violation of his fourteenth amendment

right to equal protection under the Law when defendant John

Doe    ,    Shift Commander for second shift,      in accordance with

State and Federal Law,       failed to protect the Plaintiff from

a State created danger of sexual assault,          the criminal act of

voyeurism and cross gender viewing of a strip search. By allowing

the group strip search to occur, defendant John Doe               knowingly

violated and ignored NHDOC policy and failed to protect the

Plaintiff, which removes any qualified immunity and imposes

supervisor liability.



      60)    Plaintiff claims a    violation of his fourteenth amendment

right to equal protection under the Law When defendant Major

Jon Pouts,     in accordance with State and Federal Law,        failed

to protect the Plaintiff from a State created danger of sexual

assault,     the criminal act of voyeurism,      and cross gender viewing

of a strip search. By authorizing the group strip, defendant

Fouts knowingly and willingly violated State and Federal Law

and ignored NHDOC policy,       failing to protect the Plaintiff,

Which removes any qualified immunity and imposes Supervisor

liability.




                                      (18)
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       61)   Plaintiff claims a   violation of his   fourteenth amendment

right to equal protection under the Law when defendant Jean

Carrol, PREA Coordinator, did not follow protocol as set forth

in 28 U.S.C.     115 and the NHDOC PPD #5.19 to investigate any

and all allegations of sexual misconduct,        such as Staff-on-

offender voyeurism,     and to report the finding of those

allegations to the appropriate authorities and the victim, which

is   the Plaintiff   in this   case,




       62)   Plaintiff claims a   violation of his fourteenth amendment

right to equal protection under the Law when defendant AG Joseph

Foster, upon receiving a       letter from the Plaintiff, neglected

his duty to protect citizens of the State of New Hampshire and

assign an independent investigations team to follow up on the

claim of the Plaintiff. Defendant failed to protect the Plaintiff

when he assigned defendant Pouts to investigate an incident

in which he was personally involved.



       63) Plaintiff claims a violation of his fourteenth amendment

right to equal protection under the Law when defendant Kench,

by replying to the grievance addressed to the Commissioner in

the negative,     neglected to ensure that all officers, corrections

line staff, support staff, non-prison admisnistrators/managers,

Commissioner, Assistant Commissioner, and Division Directors

are properly trained in all Policy and Procedure Directives,

as each is required, in accordance with specifically PPD #4.01,




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"Department of Corrections Training Program", PPD #2.16 "Rules

and Guidance for DOC Employees", PPD #5.19 "Searches and

Inspections", PPD #7.30 "Safeguarding of residents in

Departmental Facilities", and PPD #1.17 "Agency Mission".

Defendant Kench failed to protect the Plaintiff through the

training and testing of NHDOC personnel of the proper policies

and procedures that are in place to protect the residents.



     64)    Plaintiff claims a        violation of his fourteenth amendment

right to equal protection under the Law when defendant Governor

Maggie Hassan,       upon receiving four letters from the plaintiff

concerning the practices of group strip searches at the Prison

in Concord,       failed to authorize investigations into         the claims

against the NHDOC,         an agency under the direct authority of the

Executive Branch,        of which defendant Hassan is head as Governor.




                                      Count       IV


     Plaintiff was denied due process under the fourteenth

amendment    of    the   United   States   Constitution.




     65) Plaintiff incorporates paragraphs 1 through 33 as though

they were stated fully herein.




     66) Plaintiff claims a           violation of his fourteenth amendment

right to due process when defendant Warden Gerry violated Federal

Postal Laws by intercepting and responding to a grievance sent

to defendant Commissioner Wrenn.              This grievance was sent by

the Plaintiff in a sealed,           stamped envelope with U.S. postage

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affixed and addressed to the Commissioner at his         office.




     67)   Plaintiff claims a    violation of his    fourteenth amendment

right to due process when defendant CO John/Jane Doe #M violated

Federal Postal Laws by rerouting the Plaintiff's letter addressed

to the Commissioner in a sealed, Stamped envelope to defendant

Gerry.




     68)   Plaintiff claims that as a      ward of the NHDOC under

the headship of defendant Commissioner William Wrenn,          defendant

Wrenn is legally responsible for all violations mentioned herein

as well as the actions and omissions of those under his authority.




     69) Plaintiff claims that as a        citizen of the State of

New Hampshire under the jurisdiction         of the NHDOJ with defendant

Attorney General Joseph Foster as Head, defendant Foster is

legally responsible for all violations mentioned herein as well

as the actions and omissions of those under his authority.



     70)   Plaintiff claims that as a      ward of the NHDOC and a

citizen of the State of New Hampshire under the jurisdiction

of the NHDOJ, both of which are under the authority of the

Executive Branch and office of the Governor under the headship

of defendant Governor Maggie Hassan, defendant Hassan is legally

responsible for all violations mentioned herein as well as the

actions and omissions of those under her authority.




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       71) The Plaintiff has no plain, adequate,       or complete remedy

at Law to redress the wrongs described herein.         Plaintiff has

been irreparably injured by the conduct of the defendants and

unless this Court grants declaratory and injunctive relief Which

the   Plaintiff    seeks.




       72) The Plaintiff does not argue the need for strip

searches, nor does he argue that as an inmate some,          but not

all, of his rights are diminished. The Plaintiff's argument

is about the manner in which the strip search was carried out.



       73) Upon information and belief,       at the time of the

violations,      there was no ongoing emergency situation that would

necessitate the need for a group strip search, which,          if there

had been,   the Plaintiff would not argue also, as this would

bring a need to overlook Prisoner/inmate rights in the best

interests   of    the   institution.




       74) According to PPD #4.01 entitled "Department of

Corrections Training Program", all staff which include all

officers. Corrections line staff, non-prison administrators/

managers.   Commissioner, Assistant Commissioner,       and Division

Directors, are properly trained in accordance with Part IV Sub

section(O) and subsection (P)of the aforementioned PPD, and all

recurrent training,         which includes computer based training

through the NHDOC "MOODLE" system is to be kept current in




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accordance with attachment       #   2   of   PPD   #4.01.   Therefore   the

Plaintiff believes that none of the defendant have qualified

immunity.



                              Prayer for Relief



     75) Wherefore,    the Plaintiff respectfully prays that this

Court enter judgment granting Plaintiff:



     76)    Declaration that the acts and omissions described herein

violated the Plaintiff's rights under the Constitution of the

United States;




     77) A preliminary and permanent injunction ordering

defendants Wrenn,    Gerry,    and Fouts ensure that those under their

authority perform their duties in accordance with State and

Federal Laws and NHDOC PPDs as described herein;



     78) That defendants Foster and Carrol perform their duties

in the manner prescribed with State and Federal Law,                 to include

investigating claims of sexual misconduct and State created

danger of sexual assaults;



     79) That defendants John Doe #'s 1 through 12 perform their

duties in a professional manner in accordance with NHDOC PPDs

and State and Federal Law,       which includes protecting inmates

under department control;




                                         (23)
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     80)   That defendant Wrenn ensure that each institution under

NHDOC control have the appropriate privacy screens available

for use with large functions where the numbers of inmates to

be searched exceeds ten   (10)   and to have these searches done

out of the view of video surveillance cameras;




     81) That defendant Hassan, who is signing certifier for

compliance with PREA standards under 28 U.S.C.          115, ensure that

those under her and all successive elected Governors,              are in

compliance with and operating within the scope of Federal and

State Laws;




     82) Punitive damages in the amount of $                         against

each defendant;




     83) A jury trial on all issues triable by Jury;



     84) Plaintiff's cost in this suit;



     85) Any additional relief this Court deems just,              proper

and equitable.



                                  Dated /o/So/zS'
                                  Respectfully submitted



                                  Timothy Beers #95449
                                  P.O.   Box   14
                                  Concord,     N.H.   03302-0014




                                  (25)
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                                 Verification



     I have read the foregoing complaint and          pursuant to
28 U.S.C. §1746, I hereby declare and verify          that the matters
alleged therein are true and correct, except          as to matters
alleged on information and belief, and as to          those I believe
them   to be   true.



       I   certify under penalty of perjury that the foregoing is
true   and   correct.




                         Executed at Concord,     New Hampshire

                         on Date        //S~



                         Timothy^^^ers
          Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 26 of 41




                             List of exhibits

1 )   P.P.O.   1.17
2)    P.P.O.   2.16

3)    P.P.O.   4.01
4)    P.P.O.   5.19

5) Grievance Policy and Procedures
6)    Inmate request slip to Major
7)    Grievance form to Warden

8) Grievance form to Commissioner (intercepted by Warden)
9)    Holiday event form
10)    Grievance form to Commissioner
11)    Inmate request slip to Mental Health
12) Letter sent to Governor Maggie Hassan
13)    Notice audit
                       Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 27 of 41


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To: All Inmates


                                                       Grievance Policy and Procedures




                step One-
                               o        you must first seek to resolve your issue, via an Inmate Request Form, with the lowest level staff whom
                                        can deal with said issue, only one issue can be addressed per request
                               o        the issue at hand must be specifically detailed to include your name IDff, time, dates, staff involved,
                                        witnesses, and the requested resolution you seek all, to be included on the Inmate Request Slip to allow
                                        for proper investigation
                               o        this step must be done within 30-calendar days of incident, unless a waiver is requested which will only be
                                        granted if the inmate can prove an identifiable risk of fear of physical or psychological harm
                           o            15-working days must be allowed for a proper response and an additional 15-days may be granted to
                                        allow for investigation/response
                step Two-
                           o           if your request to resolve issue is not met then a Grievance Form may be filled out to the Warden
                           o           the issue at hand must be specifically detailed to include your name ID#, time, dates, staff involved,
                                       witnesses, and the requested resolution you seek, all to be included on the Grievance Form to allow for
                                       proper investigation to include a copy of the request slip to prove that the proper procedures were
                                       followed

                         o             Grievance must be filed within 30-days of the response to the request slip, unless a waiver is requested
                                       which will only be granted if the inmate can prove that they were physically unable to file grievance or
                                       were separated from documents due to extended transport
                       o               30-days must be allowed for the warden to respond to grievance and an additional 15-days if needed to
                                       investigate issue/respond

                step Three-
                       o               if your Grievance is denied you may file for an appeal using the Grievance form to the Commissioner
                       o               the issue at hand must be specifically detailed to include your name ID#, time, dates, staff involved,
                                       witnesses, and the requested resolution you seek, all to be included on the Grievance Form/Appeal to
                                       allow for proper investigation to include a copy of the request slip & Grievance form to prove that the
                                    proper procedures were followed
                       o           Appeal must be filed within 30-days of the response to the Grievance form, unless a vyaiver is requested
                                   which will only be granted if the inmate can prove that they were physically unable to file grievance or
                                   were separated from documents due to extended transport
                       o           30-days must be allowed for the warden to respond to grievance and an additional 30-days if needed to
                                   investigate issue/respond
                         Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 28 of 41


          ^(sP                                            INMATE REQUEST SLIP
Submit this request to the Unit Supervisor, Security Lieutenant, or CC/CM. Your fJiut^iufjei^Mc^llfii^urity-
Lieutenant, or CC/CM will help you resolve the issue or it will he forwarded to thej^apDropriate person.
Unit Supervisor, Security Lieutenant, or CC/CM will he forwarded to you.              r 0 2015
TO: Unit Supervisor, Security Lieutenant, CC/CM                                                                                                     ^
FROM:               4^^^^                                                                                                       TP#:
                     Last Name                            First Name                      Middle Initial


               /t/ //.Facility
                        l/f                                 ILA
                                                          Housing Unit
                                                                                             2.^
                                                                                           Cell
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                                                                                                                                 Work/SHift
                                                                                                                                                    .
INMATE REQUEST: P'                                         L./, -T,,                        ,^/ij ^4 f .,/>V o,^,'
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          r-                         •        ^^                                                                         .
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                                               /                                                         i/'

(If you need more space, use plain paper.)
                                                                                                                             Inmate Signature

TO: /Ma -gy               f                                                                                            DATE:

FROM: Unit Supervisor, Security Lieutenant or CC/CM                                                            ,                       _J
REMARKS:                                                     UJ          P-


                                                                                           - ^ "7^•1•y/%<-      ^—i/t^Lr
                                                                                                      S/a^Signa/Mrc / '

FROM:                                                                                                                  DATE:
             Staff Member Name/Office                                                                                                           i
                                                                                                                                                         /


REMARKS:^                                                                A^/t^uU^r'X j
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                                                                                                                              taff Signature
                   //C
                                                                              Received By
                                                                                                                             Inmate Signature

White -                       Office               Yellow - Inmate                     Pink - Staff                ,             SP-014 (a) Rev. 11/06
                  Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 29 of 41


                                           INSTRUCTIONS

This form will be used by inmates of the New Hampshire Department of Corrections Facilities in Concord.
Lakes Region, Goffstown, Berlin and Community Corrections Centers to communicate requests/issues to
members of the Department of Corrections staff. Inmates serving sentences at other than New Hampshire
State Prison Facilities may use stationery rather than inmate request slips.

The Yellow and White copies will be returned to you with a response. You must acknowledge receiving
this response by signing the White original, which will then be returned to Offender Records for storage
in archives for 3 years, after which it will be destroyed.

The Yellow copy is YOUR copy. Please keep this for your records. This is your receipt of the request.


Distribution of copies of this form; Give ALL copies to the Unit Supervisor, Security Lieutenant, or CC/CM.




                          ADDRESS YOUR REQUEST AS FOLLOWS

Give all requests to your Unit Supervisor, Security Lieutenant, or CC/CM for prompt attention.

Strictly Confidential Requests may be placed in a sealed envelope and addressed to the appropriate staff
meniber.or OfficeiComjnissioner, Wardenr'B'Ure-au-AdminbtTationMnve'stigario"ni>)7''If if1s tieterininecf"fhaT
your request could have been handled by a different party, it will be returned to your Unit Supervisor,
Security Lieutenant, or CC/CM.




                                             IMPORTANT

DO NOT send requests written on other forms/paper. You MUST USE THIS FORM when communicatin
with staff. Other written forms will be returned unanswered.
                             Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 30 of 41
                                                        GRIEVANCE FORM
                                                                                                                                 7
                                                  (See Reverse For Instructions)

                                                   Department of Corrections
                                                        State of New Hampshire
             714S
                                                                 P.O. Box 14
                                                 Concord, New Hampshire 03302
 JOHN H. LYNCH                                                                                                                        STEPHEN J. CURRY
    GOVERNOR                                                                                                                                  Commissioner



                                                                                          1.                Date:
        2.      GPIEVANT:_S                                                               3.                Number:
        4;      Address:              4—^
        5.      Brief Description of Grievance:.
                     ,   ✓

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                                  /   •                      '      /   •                                        /




                                                                            Signature:.
                                                                                     (You will be penalized if statement is untrue)

        (Use Attachments if necessary.)             '

                                                                                           "'f'—•               - -- / y
        7b: :piRECTORi(Warden)                                                              Date Of Director's Action: /J? 7-//>
        Director's'Action:                  O           h                          £k.                       LSlS.             r .-w)                             X




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                               j-yj cj f , T••                              r - r--y                                  IC^ /A?*          ^



        To:         COMMISSIONER                                                     Date of Commissioner's Action:.

        Commissioner's Action:.




                                                                              Authentication:.

(FORWARD ALLTHREE COPIES. WHITE WILL BE FILED IN OFFENDER RECORDS, CANARYTO RESPONDER
AND PINK TO GRIEVANT.)

SP-52
                    Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 31 of 41
                                      A                              y— '   W«p    mm:\

                           INSTRUCTIONS FOR USE OF GRIEVANCE FORM


   1. Fill in date sent.

   2. Fill In your name.

   3. Fill in yournumber; for prisoners, and parolees your prison number; for probationers your s.04^^
   security nurnberor driver's license number.                                                  '                  y
   4. Prisoners fill in your housing assignment; others your mailing address.

  - 5,^Briefly"de&c    your grievance,,^ Use additipnal blank pages or attachments if necessary. Provide
i^-H-enough information so thdt the recipient can ur^efstarfd the problem.                               -
   6. Sign the form. You are cautioned that if investigation of your grievance discloses that you were
   untruthful or misrepresented the facts, you will be disciplmed for that violatldn.
   7. The form MUST be sent to the Warden if you are a prisoner. Parolees and probationers,MUST send
   the form to the Director of Field Services. The Warden or Director of Field Services will reCpond within
   fifteen (15) working days of receipt of the form. If resolution or investigation will take longer than 15
   days, you will be provided an interim repiy.

   8. If the response from; the Warden or the Director of Field Services does not resolve the issue
   satisfactorily, you may then file the grievance with the Commissioner. The OorTimissioner will respond
   within twenty (20) days with a final or Interim reply.

   9. Prifoners MUST usO request slips to attempt to resolve issues prior to submitting a grievance.
   Grieyapfees will not be             It is demonstrated that fequest slips have not worked or uhtess
                     ^bona   dpj'ernerdencv or iife-tltreatenirrg situation. "Atiempts to by-pass die requesf"'
   slip system will simply be"returned wflhdut action unless the
   tp,gse the request slip systern'of that the situation is a bonafide emergency, or iifedhreateningy
   10. Grievances sent to the Commissioner by prisoners without evidence of the Warden's earlier action
   will be returned without action.

   11. The grievance form rhay be used for second level appeals of disciplinary board results at the
  'ptisonlf th^§:'6figi^mj-appea^off^reque;$TslTpwas7^ejpc^8d';in^t©le-er4f^2al^^
          a; Onlylwo types of appeais are grievable: fa) allegations of procedural violations stating what
   procedural or process errors were made; or, (b) allegations of sentence dispropOrtionatehess aiilegihg
   that the sentence was excessive and stating the reasons why.

          b. 'Questions relatihg tC guilt or Innocence or Insufficiency or invalidltv'of evidehce are: NOT
   grieyable at the second leyel (but they may be appealed at the first level on a request slip), ;.
        c. Minor board results may be appealed to the Administrator of Security'on a request slip.,If the
   Administrator's response does not satisfy the inmate he may appeal to the Warden on a grievance
   form,. The Warden's response on a minor board is final.

          d.   Major board results may be appealed to the Warden on a request slip. If the Warden's
   response does not satisfy the inmate he may appeal to the Commissioner on a grievance form. The
   Commissioner's respdnse on a major board is final.                                       •

          e. Appeals must state clearly what is being appealed and the reasoning upon.which t^^
   appeal Is based.                                              -                                  • '            .
                                                                                                          .'.F ^




                                                                                                                       n
                            Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 32 of 41
                                                                                   GRIEVANCE FORM
                                                                             (See Reverse For Instructions)

                                                                             Department of Corrections
                                                                                   State of New Hampshire
                                                                                         P.O. Box 14                                                                                                              ''fs 092015
                                                                        Concord, New Hampshire 03302
 JOHN H. LYNCH
    GOVERNOR


                                                                                                                          .                                           •
                                                                                                                           \                        1.               Date:.                  f-P r /•
        2.      GRIEVANT                                                                                                  X                         3.               Niimhfir:                       7^ /X /
                                                                                       7

                Brief Deenription of Grievenoe:                                                         .   .    ..         ,   /   / .
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                                                                                                                 Signature:.^
         L:/^'/r                                                                                                         (You will be penalized if statement is untrue)

        (Use Attachments if necessary.)


        To:        DIRECTOR (Warden)                                                                                                                                 Date of Director's Action:.

        Director's Action:
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                                                                                                                          Authentication:.                                                                   >      ./ r A.



        To:       COMMISSIONER                                                                                                              Date of Commissioner's Action:.

        Commissioner's Action:.




                                                                                                                          Authentication:.


(FORWARD ALLTHREE COPIES. WHITE WILL BE FILED IN OFFENDER RECORDS, CANARYTO RESPONDER
AND PINK TO GRIEVANT.)

SP-52
                 Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 33 of 41
                         INSTRUCTIONS FOR USE OF»{iplEVANCE FORM

1.-Fill:.in date sent.                               :     -    •
2. Fill in your name.

3. Fill in ^ur; nurnberi for prisoners, and paroiees your prison number; for probationers your socia
security number or driver's license number.                                                               i
4. Prisoners fill in your housing assignment; others your mailing address.

5. Briefly describe your grievance. Use additional blank pages or attachments if necessary. Provide
enough information so that the recipient can understand the problem.

6. Sign the form. You are cautioned that If investigation of your grievance discloses that you were
untruthful or misrepresented the facts, you will be disciplined for that violation.
"7 The form MUST be sent to the Warden if you'ar^a prisoner." Parolees and.probationers-MUST send
the form toThe Director of Field Services. The Warden or Director of Field Services will respoHd within
fifteen {15) working days of receipt of the forfn. If resolution or Investigation will; take longer than 15
days, you will be provided an interim reply.              .                              .

8. If the response from the Warden or the Director of Field Services does not resolve the Issue
satisfactorily, you may then file the grievance with the Commissioner. The Commissioner will respond
within twenty (20) days with a final or interim reply.                      '

 9. Prisoners MUST use request slips to attempt to resolve issues prior to submitting a grievance.
 Grievances will not be accepted uniess it is demonstrated that request slips have not worked or unless
 the grievance is a bonafide emergency or life-threatening situation. Attempts to by-pass the request
Slip systegi^yvill simply be returned without action unless the grievance clearly shows earlier attempts^
to uselfheTequeSt
            .'V ... .n... .
                            Slip system Or that the situation: is a bonafide emergency pr life-threatening.
                                                                                                v'.''   - .,v
                                                                                                              — .'
 10. Grievances sent to the Commissioner by prisoners without evidence Of the W^rden's earlier action
 will be returned without action.

 11. The grievance form may be used for second level appeals of disciplinary board results at the
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 procedural or process errors' were made; or, (b) ailegations'of sentence dispropo'rtionaleness ailegirig'
 that the sentence was excessive and Stating the reasons why.

        b. Questions relating to guilt or innocence of ihsufficiency of invalidity: of evidence are NOT
 grlevable at the second level (but they may be appealed at the first level on a request:.slip).
      c. Minor board results may be appealed to the Administrator of Securityoh a request slip. If the
 Administrator's response does not satisfy the inmate he may appeal to the Warden.on a grievance
 form. The Warden's response on a minor board is final.

       d. Major board results may be appealed to the Warden on a request slip. If the Warden's
 response does not satisfy the inmate he may appeal to the Commissioner on a grievance form. The
 Commissioner's response on a major board is final.

        e. Appeals must state clearly what Is being appealed and the reasoning upon which the
 appeal is based.
                                 Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 34 of 41



                                                           2015 NHSP-CONCORD
                                                      HOLIDAY EVENT EORM

  Inmate Name:                                                                                   ID#                                 Unit:

  Event Date:                                                                       South, Donus, Inf ,Rtu 12/12                             1:00 to 3:45PM

                                                                                    North, Dorms                          12/13               1:00 to 3:45PM

                                                                                    Snow Date-SPU                         12/14               1:00 to 3:45PM

                                                                                    H-Bld C pod + D pod                  12/15                6:00 to 8:45PM

                                                                                    H-Bld B&E                            12/16                6:00 to 8:45PM

                                                                                   H-Bld A&F                             12/17                6:00 to 8:45PM

                                                                                   South                                 12/19                1:00 to 3:45PM

                                                                                   North                                 12/20                1:00 to 3:45PM



                                  List Approved Visitors Only 2 Adults & 4 Children

                        Adult #1                                                                          Adult #2

 Name of visitor:                                                                  Name of Visitor:

Relationship:                                                                      Relationship:



                                                         Children (Under 18 Years of Age),

                        Child #1                                                                          Child #2

Name of visitor:                                                                  Name of Visitor:

Relationship:                                                                     Relationship:
Age:                                                                              Age:


                  •    Child #3                                                   Child #4

Name of visitor:                                                                  Name of visitor:
Relationship:                                                                    Relationship:
Age:                                                                             Age:


  By Submitting this request to attend tJie Holiday event, I understand tliat I will be required to be stripped out in a group setting in front of other inmates and male staff
imeinbers. I fuithcr understand that the Holiday Event with family is a privilege and not a right and that if 1refuse to agree to be stripped out in a group setting that it could
                                                        be reason enough to deny my request to attend a holiday event.

                      Submit to the Recreation Department by: Friday, November IS"*, 2015
                     Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 35 of 41
                                                                                                       RECEIVED
                                                 GRIEVANCE FORM
                                          (See Reverse For Instructions)
                                                                                                     FEB19a))5
                                           Department of Corrections
                                            State of New Hampshire
                                                    P.O. Box 14
                                                                                             COMMISSinisiER'S QFFioc
                                        Concord, New Hampshire 03302
 JOHN H. LYNCH                                                                                       STEPHEN J. CURRY
    GOVERNOR                                                                                            Commissioner



                                                                      1.       Date:_^
        2.     GRIEVANT:.                                             3.       Number:.
        4.    Address: .J/
        5.     Brief Description of Grievance:




                                                          Signature:.
                                                                   (You will be penalized if statement is untrue)

        (Use Attachments if necessary.)

                                                                                                 T
        To:     DIRECTOR (Warden)                                              Date of Director's Action:.


        Director's Action:




                                                            Authentication:.



        To:     COMMISSIONER                                        Date of Commissioner's Action:


        Commissioner's Action                                                  LN)n.-.> JK. A         /LX.-/'VP.Ait. -
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                                                            Authentication:


(FORWARD ALLTHREE COPIES. WHITE WILL BE FILED IN OFFENDER RECORDS, CANARY TO RESPONDER
AND PINK TO GRIEVANT.)

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                Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 36 of 41
                        INSTRUCTIONS FOR USE OF GRIEVANCE FORM


1. Fillin date sent.

2. Fill in your name.

3. Fili in your number; for prisoners, and parolees your prison number; for probationers your social
security number or driver's license number.

4. Prisoners fill in your housing assignment; others your mailing address.

5. Briefly describe your grievance. Use additional blank pages or attachments if necessary. Provide
enough information so that the recipient can understand the problem.

6. Sign the form. You are cautioned that if investigation of your grievance discloses that you were
untruthful or misrepresented the facts, you will be disciplined for that violation.

7. The form MUST be sent to the Warden if you are a prisoner. Parolees and probationers MUST send
the form to the Director of Field Services. The Warden or Director of Field Services will respond within
fifteen (15) working days of receipt of the form. If resolution or investigation will take longer than 15
days, you will be provided an interim reply.

8. If the response from the Warden or the Director of Field Services does not resolve the issue
satisfactorily, you may then file the grievance with the Commissioner. The Commissioner will respond
within twenty (20) days with a final or interim reply.

9.   Prisoners MUST use request slips to attempt to resolve issues prior to submitting a grievance.
CTJevances.will not be accepted .unl;e%sjl is^em:0£is^teilJhaXr6quLeat,elip^h^ye-^
the grievance is a bonaflde emergency or !ife4hreatenihg situation. "Attemf^ to by-pass th'eTlqlJest
slip system will simply be returned without action unless the grievance clearly shows earlier attempts
to use the request slip system or that the situation is a bonafide emergency or life-threatening.

10. Grievances sent to the Commissioner by prisoners without evidence of the Warden's earlier action
will be returned without action.

11. The grievance form may be used for second level appeals of disciplinary board results at the
prison if the original appeal on a request slip was rejected in whole or in part under the following rules:

       a. Only two types of appeals are grievable: (a) allegations of procedural violations stating what
procedural or process errors were made; or, (b) allegations of sentence disproportionateness alleging
that the sentence was excessive and stating the reasons why.

       b. Questions relating to guilt or innocence or insufficiency or invalidity of evidence are NOT
grievable at the second level (but they may be appealed at the first level on a request slip).

      c. Minor board results may be appealed to the Administrator of Security on a request slip. If the
Administrator s response does not satisfy the inmate he may appeal to the Warden on a grievance
form. The Warden s response on a minor board is final.

      d. Major board results may be appealed to the Warden on a request slip. If the Warden's
response does not satisfy the inmate he may appeal to the Commissioner on a grievance form. The
Commissioner's response on a major board is final.

       e. Appeals must state clearly what is being appealed and the reasoning upon which the
appeal is based.
                                    Case 1:15-cv-00454-SM Document 1 Filed 11/03/15 Page 37 of 41


                                                                          INMATE REQUEST SLIP
                                                                                                                               O                                       11
      Submit this request to the Unit Supervisor, Security Lieutenant, or CC/CM. Your Unit Supervisor, Security
      Lieutenant, or CC/CM will help you resolve the issue or it will be forwarded to the appropriate person.
      Unit Supervisor, Security Lieutenant, or CC/CM will be forwarded to you.

      TO: Unit Supervisor, Security Lieutenant, CC/CM                                                                                          DATE!


      FROM:.                                                                  ytl
                                                                                                                                                ID #:         f
                                   Last Name                              First Name                              Middle Initial


                                                                               // A
                                   Facility                               Housing Unit ^                            Cell                         Work/Shift


      INMATE REOUEST:                                    T T',rr               r
          ff/yev          r/i^          C r/!>                 f/rrc                                                           Z'/^A'v- t             y/t C
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    |^(If you need more space, use plain paper.)
                                                                                                                                             Inmate Signature

      TO:                                                 /ri             /                   //>:/                                      DATE:

      FROM: Unit Supervisor, Security Lieutenant or CC/CM

      REMARKS:                                                                .Z.
                                                                              ify         u


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                                                                                                                                          'iSfaff Sign'dtur¥



      FROM:                                                                                            a            u e t                DATE:            h       (P
                    Staff Member Name/Office

      REMARKS:                                      (?         iZxiJl A


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                                                  C\b , l\6^ t''TCkv^'                              Received By                          ^
                                                                                                                                             Inmate Signature
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      Whi 1lie -^ieiUeV^ecori^lSfnc^ tWA                                           late                      Pink - Staff                        SP-014 (a) Rev. 11/06
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                                          INSTRUCTIONS

This form will be used by inmates of the New Hampshire Department of Corrections Facilities in Concord.
Lakes Region, Goffstown, Berlin and Community Corrections Centers to communicate requests/issues to
members of the Department of Corrections staff. Inmates serving sentences at other than New Hampshire
State Prison Facilities may use stationery rather than inmate request slips.

The Yellow and White copies will be returned to you with a response. You must acknowledge receiving
this i'esponse by signing the White original, which will then be returned to Offender Records for storage
in archives for 3 years, after which it will be destroyed.

Tilt Yellow copy is YOUR copy. Please keep this for your records. This is your receipt of the request.


Distribution of copies of this form; Give ALL copies to the Unit Supervisor, Security Lieutenant, or CC/CM.




                         ADDRESS YOUR REQUEST AS FOLLOWS

Give all requests to your Unit Supervisor, Security Lieutenant, or CC/CM for prompt attention.

Strictly Confidential Requests may be placed in a sealed envelope and addressed to the appropriate staff
member or OfficefCommissioner, Warden, Bureau Administration. Investigations). If it is determined that
your request could have been handled by a different party, it will be returned to your Unit Supervisor,
Security Lieutenant, or CC/CM.




                                            IMPORTANT

DO NOT send requests written on other forms/paper. You MUST USE THIS FORM when communicating
with staff. Other written forms will be returned unanswered.
                                   /Tx:£T/p-
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   To MaggieHassin Governor of New Hampshire

I am writing to you today , To inform you about a very serrious matter
That happened at Concord State Prison. On Dec.182014. While at the Christmas party
in the gym.
As we were getting ready to head back to our unit. We were all strip searched
right there on the gym floor! With video camra's focused on the gym. No privacy
blinds And a female officer satnding at the top of the stairs watching 50+
inmates strip down , bend over and cough, next to other inmates.
This was very Degradingand humilating experancethat should not have happened.
Also it is against the law. And here are the amendments that were broken during
this search,   (1st,4th,8th,14)
Also you can search a case (Mcbean vs. City on New York)
Case # 02-Civ.-05426.    We Have contacted the AG office. But we have not head back yet,
Can you please look into this matter? And let us know what is going on and what
will be happening about this serrious matter.

Thank you for your time,
Timothy Beers 95449
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Date Posted: 8/24/15


                                NOTICE


THIS AGENCY IS UNDERGOING A PRISON RAPE
ELIMINATION ACT (PREA) COMPLIANCE
AUDIT

• New Hampshire State Prison for Men will be audited to determine
compliance with the U.S. Department of Justice's PREA Standards for
Prisons and Jaijs.

• Information relevant to this agency's compliance with the U.S.
Department of Justice's PREA standards should be submitted at least 10
working days prior to the audit.

• The PREA Auditor will be at the facility to conduct the audit on
October 5 -7, 2015

•   Please send all written materials or comments to:


Address: William Willingham
            Certified PREA Auditor
            11820 Parklawn Drive, Suite 240
            Rockville, MD 20852
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Timothy Beers 95449                                            10/30/15
P.O.   Box   14                  U.S. L- S IHiC 1 IQL'KI
Concord,     N.H.   03302          District of n.m
                                        FILED

Dear Sir or Madam,
                                2#15 NOV -3 A Ih 09
     Can you please send me a copy of the lawsuit that I have
just forwarded to you? I have tried to get copies at the Law
Library on two different occasions this week. You will also
notice that P.P.D.'s 1.17, 2.16, 4.01, and 5.19 aranot enclosed.
The reason for this is that I don't have any money in my account,
and the Librarian has prohibited me from making copies because
of the lack of funds,       as well as hindering me by not allowing
me   extra   time   to do research.

       In addition,     can you please send me a           copy of the United
States District Court of New Hampshire Pro se civil litigation/
habeas corpus guide, and any other material that I                 might need,
including Federal rules of evidence.



Thank you for your time.
Sincerely,



Timothy Beers 95449
P.O.   Box   14
Concord,     N.H.   03302
